         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3507
                 LT Case No. 2022-CF-5420-A
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TERRELL MAURICE LEWIS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Duval County.
London M. Kite, Judge.

Matthew J. Metz, Public Defender, and George D.E. Burden,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, and Damaris E. Reynolds,
Assistant Attorney General, Tallahassee, for Appellee.

                            August 27, 2024

PER CURIAM.

    AFFIRMED.

EISNAUGLE, HARRIS, and BOATWRIGHT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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